Case 15-08388-RLM-13 Doc121 Filed 09/19/19 EOD 09/19/19 13:45:24 Pgiof1

B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

Anthony Aaron Abston
In re ; Case No. 15-08388-RLM-13

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank Trust National Association as Trustee of U.S. Bank Trust National Association as Trustee of
Lodge Series III Trust Bungalow Series III Trust
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 2-1
should be sent: Amount of Claim: $138,381.99
c/o SN Servicing Corporation Date Claim Filed: 11/06/2015

323 Fifth Street
Eureka, CA 95501

Phone: 800.603.0836 Phone:
Last Four Digits of Acct#: 8270 Last Four Digits of Acct. #: 8270

 

 

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Molly Slutsky Simons Date: 09/19/2019
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
